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                                                                                               Filed: 9/27/2021 4:40 PM
                                                                                                                   Clerk
                                                                                                  Allen County, Indiana
                                                                                                                     RJ



STATE OF INDIANA              )                      IN THE ALLEN SUPERIOR COURT
                              ) SS:                  CIVIL DIVISION
COUNTY OF ALLEN               )                      CAUSE NO.02D09-2109-CT-000515
                                                                     Allen Superior Court 9

SUSAN SMALL,                                 )
                                             )
               Plaintiff,                    )
                                             )
vs.                                          )
                                             )
WAL-MART STORES EAST, LP d/b/a               )
WALMART SUPERCENTER,                         )
                                             )
               Defendant.                    )


                               COMPLAINT FOR DAMAGES

        Comes now the Plaintiff, Susan Small, by counsel, and for her Complaint for Damages

against the Defendant, Wal-Mart Stores East, LP d/b/a Walmart Supercenter, alleges and asserts

that:

        1.     At all times mentioned herein, Plaintiff, Susan Small, was a resident of Sarasota

County, State of Florida.

        2.     At all relevant times herein, upon information and belief, Defendant Wal-Mart

Stores East, LP d/b/a Walmart Supercenter (hereinafter referred to as “Defendant”), was a

foreign limited partnership licensed and doing business in the State of Indiana on September 11,

2020.

        3.     Defendant has a store located at 5311 Coldwater Rd., in the County of Allen,

State of Indiana, City of Fort Wayne, also referred to as Store #1419.

        4.     On or about September 11, 2020, Plaintiff Susan Small (hereinafter referred to as

“Plaintiff”) was lawfully on the premises mentioned above of Defendant as a business invitee.




                                                                                              EXHIBIT A
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          5.     Plaintiff was walking through a common area of Defendant’s store interior near

the produce aisle when she slipped on a substance on the floor, causing her to fall to the ground.

          6.     Defendant owed Plaintiff a duty of reasonable care.

          7.     Defendant is vicariously liable for the acts or omissions of its agents,

          representatives, and employees.

          8.     Defendant committed one or more of the following acts or omissions and is

therefore negligent, including but not limited in the following manners:

                 a.     Failed to keep the floor surface area clean and free of debris for business
                        invitees;

                 b.     Failed to adequately patrol the store floor surface for debris and
                        substances;

                 c.     Failed to adequately warn guests of the hazardous condition posed by the
                        substance on the floor.

                 d.     There were inadequate warnings to patrons or Plaintiff regarding the wet
                        floor.

          9.     As a direct and proximate cause of Defendant’s carelessness and negligence,

Plaintiff sustained personal injuries, including a fractured shoulder and ankle injury.

          10.    All of the said injuries are permanent, except those which are superficial in

nature.

          11.    Defendant’s negligence was a proximate cause of Plaintiff’s injuries.

          12.    As a result of the injuries Plaintiff sustained, she has experienced extreme

physical pain and suffering, limitations upon her activities, and mental and emotional suffering.

          13.    In an attempt to treat her injuries and lessen her pain and suffering, Plaintiff has

been required to engage the services of hospitals, physicians, and specialists for medical care and

treatment, for which she has incurred medical expenses.




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       14.     Plaintiff may require additional medical care and treatment in the future, for

which she will incur additional medical expenses.

       15.     As a direct and proximate result of the carelessness and negligence of Defendant,

as aforesaid, Plaintiff has been injured and damaged.

       WHEREFORE, Plaintiff prays for judgment against Defendant in an amount

commensurate with her injuries and damages, for the cost of this action, and for all other relief

just and proper in the premises.



                                              Respectfully submitted,

                                              YOSHA COOK & TISCH



                                        By:    /s/ Brandon A. Yosha
                                              Brandon A. Yosha, No. 36138-29
                                              Counsel for Plaintiff

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